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 \-t.\:) l 2 "llfll
                             UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF MISSOURI
eY MA\L
                                                )
  THE STATE OF MISSOURI, et al.                 )
                                                )
                      Plaintiff                 )    CASE NO. 1:20-cv-00099
                                                )
              JEFFREY CUTLER                    )
                                                )
            Intervenor Plaintiff                )
                                                )
                         V.                     )
                                                )
THE PEOPLES REPUBLIC OF CHINA,
             et al.
                                                     WRY TRIAL REQUESTED
                  Defendant




       MOTION TO INTERVENE, AND INJUNCTIVE RELIEF

      BECAUSE OF CRIMES (18 U.S. Code§ 1519 - Destruction,

 alteration, or falsification of records), 15 U.S.C. §§ 78dd-1 & MAIL

           FRAUD AND TO COMBINE CASES FOR JUDICIAL

                 EFFICIENCY AND SUMMARY JUDGEMENT




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Here comes Jeffrey Cutler, Paintiff-Intervenor in this case based on the United States

Constitution Ammend 1, for Redress of Grievances and preservation of the

Establishment Clause, Mr. Cutler files THIS MOTION TO INTERVENE, AND

INJUNCTIVE RELIEF BECAUSE OF CRIMES {18 U.S. Code§ 1519-

Destruction, alteration, or falsification of records), 15 U.S.C. §§ 78dd-1 & MAIL

FRAUD AND TO COMBINE CASES FOR JUDICIAL EFFICIENCY AND

SUMMARY JUDGEMENT, to correct for new crimes and OBSTRUCTION of

JUSTICE recently discovered 13JAN2021 at 4:10 PM. On that date Mr. Cutler

filed a 321 page document for case 20-1422 which contained EXCULPATORY

EVIDENCE OF DOCUMENTED ELECTORAL FRAUD (page 62, 67 and 320

& first 69 pages in addendum) a CONSPIRACY to ENGAGE in CRIMINAL

ACTIVITY. This document is still not present on the docket, a federal crime. It is

believed this is has been based on BRIBES and COLUSION with funds from

CHINA to hide an international effort to engage in [[Biological warfare]] with a

primary target being the United States, and DESTROY the value of the UNITED

STATES DOLLAR. DR. FAUCCI, KRISTEN WELKER and Persons of the

CDC have LIED about an Approved Vaccine to Stop COMPLICATIONS from the

FLU & COVID-19 <ref> https ://www.futuremedicine.com/doi/ 10.22 17/fca-2020-0082 </ref>. They are

called PNEUMOV AX23 and Prevnar13 which are the PRIME COMPLICATION TO

THE COVID-19 that result in DEATH from pneumococcal disease <ref>

https ://www.diabetes.org/d iabetes/med icati on-management/flu-and-pneumonia-shots </ref>.   KRIS TEN

                                                       PAG E 2of 321
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WELKER' S HUSBAND IS A MARKETING EXECUTIVE FOR MERCK. THE

TESTING KITS ARE TAINTED AND HELPING TO INFECT PEOPLE AROUND

THE WORLD <ref> https://www.govinfo.gov/content/pkg/CHRG-11 0hhrg53 l 83/html/CHRG-

11 0hhrg53183.htm </ref><ref> https://www.nytimes.com/2008/03/06/health/06heparin.html

</ref><ref> https://www.latimes.com/archives/la-xpm-2008-mar-20-na-fda20-story.html </ref><ref>

https://en.wikipedia.org/wiki/2007 pet food recalls </ref> <ref>

https://www.latimes.com/business/story/2019-09-18/carcinogen-scare-tainted-zantac </ref> COVID-19

is Biological warfare <ref>https://en.wikipedia.org/wiki/Biological warfare </ref> NOTE

CHINA GONE FROM LISTS AND PROGRAMMED TO BE EXCLUDED

JUST LIKE VOTES FOR TRUMP. It is believed that the testing components may

be tainted and is the real reason that so much propoanda has been placed on testing

when vacinations for to stop these deaths is cheaper and readily available. A

previous document in case 21-40001 was altered by persons unknown to protect the

CRIMES of the FBI/CIA and KLU KLUX KLAN. It also shows BIAS and

MALICIOUS intent to violate EQUAL TREATMENT under the law, a violation of

the United States Constitution Ammend 5. Jeffrey Cutler has STANDING and it

was granted by the USCA in DC on 14AUG2015 for case 14-5183 , and ORDER

does not EXPIRE. Mr. Cutler was granted the RIGHT to protect the

ESTABLISHMENT CLAUSE by the court and has been trying to pursue his first

ammendment right to PETTION THE COURT FOR REDRESS OF

GRIEVANCES. Recently in case # 1: 17-cv-O5228 Judge Nicholas G. Garaufis


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(Eastern District ofNew York) SIMPLY STATED MR. CUTLER IS NOT PART OF

THE CASE AND VIOLATED EQUAL PROTECTION UNDER THE LAW AND

HAD THE DOCUMENT RETURNED WITH NO RECORD ON THE DOCKET

EVEN THOUGH JOSH SHAPIRO (a Sonderkommando, elector for Joe Biden and

the current Attorney General of Pennsylvania) IS ON THE DOCKET. Mr. Cutler is

being denied MEDICARE part B coverage while the order in this case grants that

coverage immediately to NON-CITIZENS even though when DACA was set up the

president OBAMA publically stated the program was ILLEGAL. These persons are

being GRANTED EXTRA RIGHTS. Mr. Cutler a natural born citizen presently 66

years old and second generation American and JEWISH, eligable to be President or

Speaker of the House. In case 20-2936 ECF 29 page 169 Mr. Cutler filed a copy of

the order from Mr. Torres dated 12APR2018 that all voting methods must have a

HARD COPY RECORD AVAILABLE filed 20OCT2020, as part of funding from

the FEDERAL GOVERNMENT!! The laws were altered in Pennsylvania to provide

DROP BOXES that failed to have this provision. Mr. Cutler had stated these ballots

violated the states OWN order, and a judge should decide their they are ILLEGAL,

just like the term that may presently describe the sick bird Philadelphia football team

ILL EAGLE. The Citizens of the State of New York and may have been violated

by equal protection 03JAN2021 based on possible bribes or collusion to LOOSE the

football game due to substitution of the Quarterback, so the GIANTS were not able to

be in the playoffs, the coach has since been terminated. On 13JAN2021 at 4:10 PM,


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a 321 Page AMMENDED & CORRECTED EMERGENCY EXPEDITED

PETITION FOR HEARING ENBANC AND INJUNCTIVE RELIEF

BECAUSE OF CRIMES (18 U.S. Code§ 1519 - Destruction, alteration, or

falsification of records) & MAIL FRAUD AND TO COMBINE CASES FOR

JUDICIAL EFFICIENCY AND SUMMARY AFFIRMATION in Philadelphia

USCA case 20-1422, which was prior to the vote of the SNAP IMPEACHMENT

with NO abilility of the president to present any witnesses or other

EXCULPATARY evidence This was equivalent of a HIGH TECH LYNCHING

(to quote Clarence Thomas) just like Mr. Cutler was subjected. The comments of the

president were selectively EDITED to remove the word peaceful, and the concept

this speech incited the riot is contradicticted by reports that the FBI knew about

activities for over a month (the document is contained in the Addemdum). This

impeachment as fair was as true and correct as the attack on 11SEP2012 when

[[Susan Rice]] stated "But our current best assessment, based on the information that

we have at present, is that, in fact, what this began as, it was a spontaneous -- not a

premeditated -- response to what had transpired in Cairo. In Cairo, as you know, a

few hours earlier, there was a violent protest that was undertaken in reaction to this

very offensive video that was disseminated." On 12JAN2021 Jeffrey Cutler filed a

MAIL FRAUD complaint against AMAZON and Jeffrey Bezos and on 11JAN2021

filed a MAIL FRAUD complaint against TWITTER and Jack Dorsey. The MAIL

FRAUD complaints are based on being a INVESTOR in both companies and the


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ANNUAL REPORTS OF BOTH COMPANIES that are MAILED to Mr. Cutler

and other investors and statements in those reports.

THERE IS TIME STAMPED PROOF OF ELECTORAL FRAUD IN

PENNSYLVANIA, ORIGINALLY FILED IN FEDERAL COURT 20OCT2020

PAGE 169 OF CASE 20-2936 PAGE 9 OF THE LINK BELOW ORIGINALLY

FILED IN FEDERAL COURT 20OCT2020 PAGE 169 OF USCA CASE 20-2936,

PAGE 320 OF CASE 20-1422 FILED 13JAN2021 AT 4:10 PM (BEFORE THE

IMPEACHMENT VOTE) AND PAGE 384 OF DOCUMENT FILED IN FIFTH

CIRCUIT 21-40001 <ref>

https://www.courtlistener. com/reca p/gov. uscourts. pamd.1 27057/gov. usco urts. pamd. 127057. 18 1.0.pdf </ref>   THE DROP

BOXES IN PENNSYLVANIA FAILED TO HAVE HARD COPY RECEIPT

AVAILABLE DESPITE ORDER FROM TORRES ON 12APR2018 TO THE

CONTRARY. ASHLI BABBITT WAS ACTING AS A CITIZEN JOURNALIST

AND SHE HEARD THE CONSPIRACY WITH KKK/ANTIFA AND THE

POLICE, THAT IS WHY SHE WAS MURDERED. PER USCA CASE 17-1770

JOE BID EN WAS PART OF A GROUP HELPING TO SMUGGLE STOLEN

NAZI ART INTO THE UNITED STATES AND BILL COSBY FOUND OUT. On

13JAN2021 JOSH SHAPIRO is named in part of a Petition [[En bane]] in the USCA

in [[Philadelphia]] on Page 62 is a letter from [[Nancy Pelosi]] to [[Ted Wheeler]]

dated 27AUG2020 SUPPORTING VIOLENCE IN [[Portland, Oregon]] , On Page 67

is EVIDENCE OF COMPLAINT of [[Electoral fraud]] made to Office of Attorney


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General Josh Shapiro 24DEC2020 at 7:50 AM. On Page 68 is a letter of a Private

Criminal Complaint About Perjury and Obstruction of Justice made to Office of

Attorney General Josh Shapiro dated 20JUN2017, that concerns the MURDER of

[[Jonathan Luna]] by the [[Ku Klux Klan]]. Also see [[Publican and the Pharisee]]

and [[Parable of the Unjust Judge]]. Watch https://www.youtube.com/ watch?v=mgC1e8F_zUk for

more information and read comments sorted newest first. Also see <ref>

httos://www.americanfreedomlawcenter.org/case/jeffrey-cutler-v-u-s-dept-of-health-human-services/

</ref> and <ref> httos://www.brennancenter.org/leqal-work/corman-v-torres </ref><ref>

httos://redistricting.IIs.edu /files/P A%20corman%2020 l 80724%20brief .odf </ref><ref>


httos://www.oacermonitor.com/oublic/case/27231978/CUTLER v PELOSI et al </ref> As an Official


Whistle Blower in the Commonwealth of Pennsylvania, Jeffrey Cutler declares the

actions Mr. Krasner, the Mayor of Philadelphia, and the Governor were a concerted

effort to legally Murder Jews and Blacks. Mr. Cutler ran for governor as a Pro Se

candidate against Tom Wolf and had an advertisement in the METRO paper on

24OCT2018 page 15 :titled "SAVE BILL COSBY"

On 22JUN2020 a PETITION FOR IMMEDIATE INJUNCTION PENDING

APPEAL was finally put online in case 20-1449 even though it was actually filed on

20MAY2020 at 4:10 PM .. The case is called the UNITED STATES OF AMERICA

v. JOESEPH JOHNSON. The office of the president responded to this by

2 lMAY2020. The president gave a short NEWS CONFERENCE on 22MAY2020

demanding all places of worship be allowed to open. Employees of the federal



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government and others have been involved in a criminal conspiracy to OBSTRUCT

JUSTICE and damage the United States. In case #20-5143 DC USCA Nancy Dunn

obstructed documents mailed and sent to <ref> prosefilings@cadc.uscourts.gov

</ref> Mr. Cutler had sent a 330 page document on 17JUL2020 but that document

vanished, just like the white bunny HARVEY, who is invisible in the picture ofMke

Pence with his bunny Marlon Bundo on 16NOV2020 on the front page of the

Philadelphia Inquirer. The USPS tracking number 9510 8141 4908 0199 0615 60 is

not reporting results. The lawyers in sending Mr. Cutler the letters by MAIL makes

them all a party to the CONSPIRACY to INTERFERE IN INTERSTATE

COMMERCEand MAIL FRAUD. On 30SEP2020 at 12:42 PM (RESTAMPED

05OCT2020) Jeffrey Cutler filled a 571 Page PETITION TO COMBINE CASES

FOR JUDICIAL EFFICIENCY BECAUSE OF CRIMES (18 U.S.C. § 653 MISUSE

OF FEDERAL FUNDS, MAIL FRAUD, AND OTHER CRIMES), AND

SUMMARY AFFIRMATION USCA CASE 20-2936. On 15OCT2020 at 12:42 PM

Jeffrey Cutler filled a 194 Page AMENDED PETITION TO COMBINE CASES

FOR JUDICIAL EFFICIENCY BECAUSE OF CRIMES (18 U.S.C. § 653 MISUSE

OF FEDERAL FUNDS , MAIL FRAUD, AND OTHER CRIMES), AND

SUMMARY AFFIRMATION USCA CASE 20-2936. For USCA CASE 20-2936

On 28OCT2020 at 1:38 PM Jeffrey Cutler filled a PETITION FOR ENBANC

REVIEW of PETITION TO COMBINE CASES FOR JUDICIAL EFFICIENCY

BECAUSE OF CRIMES (18 U.S.C. § 653 MISUSE OF FEDERAL FUNDS, MAIL


                                     PA G E 8 of 32 1
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FRAUD, AND OTHER CRIMES), AND SUMMARY AFFIRMATION AND

PEREMTORY DISQUALIFICATION OF ALL JUDGES OF THE THIRD

CIRCUIT AND MOVE TO FIFTH CIRCUIT. On 12NOV2020 at 3:56 PM Jeffrey

Cutler filled a PETITION TO COMBINE ADDITIONAL CASES BEFORE

ENBANC REVIEW BECAUSE OF ADDITIONAL CRIMES (18 U.S. Code§ 1519

- Destruction, alteration, or falsification of records) FOR JUDICIAL EFFICIENCY

in USCA case 20-2936

On 23NOV2020 AT Jeffrey Cutler filed al 99 page PETITION FOR INJUNCTIVE

RELIEF BECAUSE OF CRIMES (18 U.S. Code§ 1519 - Destruction, alteration, or

falsification of records) AND TO COMBINE CASES FOR JUDICIAL

EFFICIENCY AND SUMMARY AFFIRMATION IN CASE 20-3371 IN PERSON

IN PHILADELPHIA AT 3:45 PM. THIS IS the appeal of DONALD J. TRUMP FOR

PRESIDENT INC., et al. v. KATHY BOOCKVAR, et al. case 4:20-cv-02078. Mr.

Cutler filed a 322 MOTION TO DECLARE DONALD J. TRUMP, INC.

VICTORIOUS FOR INJUNCTIVE RELIEF BECAUSE OF CRIMES (18 U.S.C. §

1519 - Destruction, alteration, or falsification of records, MAIL FRAUD, AND

OTHER CRIMES), COMBINE CASES FOR WDICIAL EFFICIENCY AND

SUMMARY WDGEMENT and it is time stamped 19NOV2020 case case number

4:20-cv-02078. Even though it is on 322 page document it was put on the DOCKET

as ECF 180 and ECF 181. Both of these documents are available via the internet at

<ref> https ://www.courtlistener.com/recap/qov.uscourts.pamd. l 27057 /qov.uscourts.pamd .127057.180.0.pdf </ref>




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<ref> https ://www.courtlistener.com/recap/gov.uscourts.pamd. l 27057 /gov.uscourts.pamd .127057.18 1.0.pdf </ref>

Mr. Cutler has written in the document that COVID-19 is BIO-WARFARE FROM

CHINA AIDED BY BRIBES AND CORRUPTION AROUND THE WORLD, and

he got a 193 page report from Steven Carl Quay, MD, PHD (Steven@DrQuay.com)

A COPY WAS EMAILED TO OVER 200 PERSONS AND NEWS

ORGANIZATIONS, INCLUDING RUDY and SYDNEY POWELL. Other

organizations had stated COVID-19 is Bio Warfare.

<ref> https://journal-neo.orq/2020/04/ 15/did-america-just-confess-to-a-covid- l 9-bio-war/ </ref>

<ref> https://www.rightwingwatch.org/post/covid-19-is-chinese-bio-warfare-says-trump-allied-megachurch-pastor-jack-
hibbs/ </ref>

<ref> https://www.siasat.com/covid-19-biowarfare-says-bioweapon-creator-dr-francis-boyle- l 866058/ </ref>

<ref> https://www.cnn. com/2020/04/08/politics/biological-warfare-laws-covid- l 9/index.html </ref>

<ref> https://www.biologicalweapons.news/2020-02-19-covid-19-coronavirus-found-to-contain-gain-of-function-for-
efficient-spreading-human-population.html </ref>

<ref> https://www.washingtontimes.com/news/2020/jan/26/coronavirus-link-to-china-biowarfare-program-possi/ </ref>

<ref> https://www.c ity-journal.org/html/when-germ-warfare-happened- l 3282.html </ref>

<ref> https://www.dallasnews.com/news/public-health/2020/03/ 18/dallas-federal-lawsuit-accuses-chinese-government-of-
creating-coronavirus-as-biological-weapon/ </ref>


BASED ON MR. CUTLER'S VALIDATION EXPERIENCE HE THINKS THAT

THE TESTING COMPONENTS MAY BE TAINTED and actually causing increase

in COVID-19. This is based on PREVIOUS actions by CHINA.

< ref>https://www.qovinfo.gov/ conte nt/pkq/CHRG-1 10hhrg53 l 83/ html/ CHRG- l l 0hhrq 53 l 83.htm </ref>


<ref> https://www.nytimes.com/2008/03/ 06/health/06heparin.html</ref>

< ref>https://www.latimes.com / archives/ la-xpm-2008-mar-20-na-fda20-story.html</ref>


< re f>https://en.wikipedia.orq / wiki /2007 pet food recalls </ref>



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18 U.S. Code § 1519 - Destruction, alteration, or falsification of records involving

ECF 33 filed 28OCT2020. Mr. Cutler believes the same technique used in the VW

EMISSIONS SCANDAL WAS USED TO ALTER VOTES and possibly by the same

programmers <ref>

https: //www. nyti mes. com /interactive /201 5/business/in tern a tiona 1/vw-diesel-em issions-sca nd al-

explained. htm1</ref> < ref>https://www.ydr.com/story/news/politics/elections/2019 / 11 /06/how-pa-fix-


paper-ballot-voting-problems-before-2020-presidential-election/25071 0 l 001 t<lref> PER USCA CASE


17-1770 JOE BIDEN IS INVOLVED IN DEALING IN STOLEN NAZI ART

FROM WWII. THE 199 PAGE DOCUMENT FILED 23NOV2020 AT 3:45 PM

VANISHED IN FEDERAL COURT!!

On 31DEC2020 Jeffrey Cutler at 11: 11 AM he filed a 383 PAGE MOTION FOR

SUBSTITUTION OF JUDGE AND MOTION FOR RECONSIDERATION AND

INJUNCTIVE RELIEF BECAUSE OF CRIMES (18 U.S. Code§ 1519 -

Destruction, alteration, or falsification of records) & MAIL FRAUD AND TO

COMBINE CASES FOR JUDICIAL EFFICIENCY AND SUMMARY

JUDGEMENT in the UNITED STATES DISTRICT COURT OF THE EASTERN

DISTRICT OF NEW YORK CASE #1:17-cv-05228 (STATE OF NEW YORK v.

DONALD J. TRUMP) AS AN INTERVENOR DEFENDANT.On page 46&47 of

USCA case 20-2936 filed 12NOV2020 (55 & 56 ofECF 181 case 4:20-cv-02078) is

documented evidence of (18 U.S. Code§ 1519 - Destruction, alteration, or

falsification of records) involving ECF 33 filed 28OCT2020. Mr. Cutler believes the



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same technique used in the VW EMISSIONS SCANDAL WAS USED TO ALTER

VOTES and possibly by the same programmers <ref>

https ://www.nytimes.com/i nteractive/20 I5/business/international/vw-diesel-emissions-scandal-expla ined. htm 1</re f>

<ref>https://www.ydr.com/story/news/poIi tics/elections/2019/I I/06/how-pa-fix-paper-hallot-voting-problems-before-202 0-

presidential-election/2507 101001 /</ref> PER USCA CASE 17-1770 JOE BIDEN IS

INVOLVED IN DEALING IN STOLEN NAZI ART FROM WWII. Mr. Cutler

previously had filed copies of documents from case 19-11466 (Bankruptcy of

PHILADELPHIA ACCADEMIC HEALTH SYSTEM- HAHNEMANN HOSPITAL

), in ECF 66 case 5:19-cv-00834 filed 14AUG2020 ( documents vanished, see pages

23 , 53 & 60). Mr. Cutler had desired to keep the hospital open since he had been a

previous grad of DREXEL UNIVERSITY. In fact he had talked to 2 of the bidders

for the Hospital that wanted to KEEP IT OPEN as a running HO SPITAL and offered

funds from the DEF AULT JUDGEMENT FROM BRIAN SIMMS. Tom Wolf, the

mayor of Philadelphia, and Brian Simms all gave speeches that were covered by the

media, but everything Mr. Cutler did was censored. Mr. Cutler was prevented from

atteding hearings at the law office of Saul Ewing while reporters were allowed to

attend at the law office of Saul Ewing (he was asked to leave by security, and

Philadelphia Police). Mr. Cutler previously had contested the states order that they

could redistrict (USCA Case 18-1816) via a method that gave the court this power

even though it VIOLATED THE PENNSYLVANIA CONSTITUTION and

allowed it to be ammended in 10 days, <ref> https://www.brennancenter.org/legal-work/corman-v-torres


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</ref><ref> https://redi stri cting.l ls.edu/fil es/P A%20corman%2020 I80724%20brief. pd f </ref> and conceal the

MURDER of employee of the Federal Government with the aid of the [[FBI]]. Mr.

Cutler a former ELECTED TAX COLLECTOR in November 2013 and has been

trying to clear his name based on PERJURED testimony 18 U.S.C. § 1001, bank

robbery by others, insurance fraud on l 7MAR2017 and a challenge to

OBAMACARE on 31DEC2013 (case l:13-cv-2066 in Washington, DC). Mr. Cutler

was granted the right to challenge OBAMACARE by the USCA in Washington, DC

on 14AUG2015. Mr. Cutler has filed in many cases and has caught persons

obstructing justice like in case 20-5143 (USCA Washington, DC), Nancy Dunn

stated she discarded all the documents and OBSTRUCTED JUSTICE. Many cases

involve unopposed motions. Priority mail tracking number #9510 8066 2091 0225

1534 23. A document sent to the Supreme court on 30NOV2020 at 4:28 PM used

Express Mail, tracking number EJ50503425 l OS and vanished also, just like previous

documents in federal court. In case # ON 07DEC2020 JEFFREY CUTLER FILED

VIA NEXT DAY MAIL (EJ505033021US) A 315 PAGE MOTION FOR

RECONSIDERATION AND INJUNCTIVE RELIEF BECAUSE OF CRIMES (18

U.S. Code§ 1519 - Destruction, alteration, or falsification of records) AND TO

COMBINE CASES FOR JUDICIAL EFFICIENCY AND SUMMARY

WDGEMENT IN CASE l:17-cv-05228 (STATE OF NEW YORK v. DONALD J.

TRUMP AS A Intervenor Defendant. [[DACA CASE CITING EQUAL

TREATMENT UNDER THE LAW- first 59 pages of315 attached in the


                                                  PAGE 13 o f 32 1
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Addendum]] ON PAGE 67 IS EVIDENCE OF ELECTORAL FRAUD AND

DONALD TRUMP VICTORY IN PENNSYLVANIA. ORIGINALLY FILED AS

PAGE 169 (P320) USCA CASE 20-2936 (COUNTY OF BUTLER, et al. v. THOMAS

WOLF, et al.) . Even though the document IN CASE 1:17-cv-05228 was recieved on

08DEC2020 AT 10:56 AM, it has yet to be put on the DOCKET, despite multiple

claims by the clerks. Josh Shapiro (a SONDERKOMMANDO) is part of the case in

New York, and a MAIL FRAUD complaint has been submitted for his previous

actions and BASED ON A STORY ON PAGE B2 09DEC2020 PHILADELPHIA

INQUIRER, AG SHAPIRO IS GUILTY OF MAIL FRAUD BASED ON

RESPONSE AND FILINGS OF LETTER SENT JUNE 20, 2017 PAGE 59 OF A

315 PAGE MOTION FOR RECONSIDERATION. Since he is part of the

ELCTORAL COLLEGE in Pennsylvania, his vote for Joe Biden will also be a

CONSPIRACY to commit MAIL FRAUD with the other electors and is also

AIDING AND ABETTING in concealing the MURDER of a BLACK

FEDERAL EMPLOYEE (and they are violating 18 U.S.C. § 3 Accessory after the

Fact MURDER of Jonthan Luna). In a previous case in Pennsylvania Judge

Clarence C. Newcomer ruled that the Democratic campaign of William G. Stinson

had stolen the election from Bruce S. Marks in North Philadelphia's Second

Senatorial District through an elaborate fraud in which hundreds of residents were

encouraged to vote by absentee ballot, a form of MAIL FRAUD. On many of the




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ballots, they used the names of people who were living in Puerto Rico or serving time

in prison, and in one case, the voter had been dead for some time.

"Substantial evidence was presented establishing massive absentee ballot fraud,

deception, intimidation, harassment and forgery," Judge Newcomer wrote in a

decision made public. <ref> hllps://www.leagle.com/decision/! 994892 ! 9f3d873 l 759 </ref>,

<ref> https://www.nytimes.com/1994/02/ 19/us/vote-fraud-ruli ng-shifts-pen nsylvani a-senate. htm l </ref> . Even

though the judge is named as part of the complaint filed for case #1:20-cr-00165 for

MAIL FRAUD, someone else could be the real culprit. Judge Jeffrey Schmehl in

case 2:17-cv-00984 (Appeal 17-2709) specifically ruled that FAILURE TO SERVE

was a reason to deny ALL motions by Mr. Cutler. It was established that ALL

parties FAILED TO EVEN ATTEMPT TO SERVE ALL PARTIES. The same

judge has shown BIAS and MALICIOUS intent to violate EQUAL TREATMENT

under the law, a violation of the United States Constitution Ammend 5, in an effort

to violate Mr. Cutler's right to redress of grievances and as a violation of 18 U.S.C. §

3 accessory after the Fact MURDER of Jonthan Luna ( a BLACK employee of the

FEDERAL GOVERNMEMT). The same persons that MURDERED Luna based on

the injuries may be the same individuls in a Louisiana town of Baldwin that are

responsible for the death of Qua wan "Bobby" Charles. A mail fraud complaint has

been filed against Judge Schmehl for his opinion in the case, for making

PERJURED STATEMENTS BY MAIL, (18 USC§ 1001) and an effort to protect

parties that defaulted as well as both insurance companies and their lawyers making


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false statements by mail in denying claims. Mr. Cutler believes he should be

included in this case because the Safehouse activity would lower the property values

all over Philadelphia and Pennsylvania and allow illegal drugs to become even more

readily available. This would set a standard for CHINA to attack the United States

even further. The DemoNcrats have pushed for the lowest common demoninater of

activity and depavity to destroy this Republic, and destruction of GOD in favor of the

STATE. This WORLDWIDE attack based on payments and corruption this court

MUST deny them the chance to succeed and promote DRUG DENS in Philadelphia.

On 13MAY1985, then district attorney Ed Rendel allowed FIVE CHILDREN to be

CREMATED ALIVE , based on BOMBs furnished by the f[FBI]] , as a form of

eviction. Midge Rendel has failed to RECUSE from 18-3693.

Statements by Jason Confair (Manhiem Township) and Robert DiDominicis

(Haverford Police) fail to serve Mr. Cutler in their latest filing (ECF 41 and ECF 50).

Mr. Cutler believes this constitutes a CONSPIRACY to conceal the murder of a

Federal Employee found on 04DEC2003 (Jonathan Luna) , by persons in the

governments (both federal and state) and also the murder of five children on May 13,

1985 as a form of Eviction with the aid of persons in the FBI. Shaun Bridges a

secrect service ageny stole over $ 800,000 and was convicted of the crime in

NO V201 7 <ref> https://www.justice.gov/opa/pr/forme r-sccret-service-agcnt-sentenced-sc hern e-re lated-silk- road-

investigation </ref><ref> The murder of Sean Suiter was equall y ta inted


https://www.ydr. co m/story/news/2020/07 / I 0/in vestigato r-death-balti rnore-ci ty-pol ice-detective-sean-suiter-charged- kidnapp ing-




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extortion-casets41223&0021</ref>Mr. Cutler had stated that he believed that the MURDER of

JONATHAN LUNA was carried out by the KLU KLUX KLAN, and concealed

with help of persons of the FBI. Mr. Cutler based on his past jobs & training that the

COVID-19 pandemic is BIO-WARFARE against the world from CHINA and

CORRUPT OFFICIALS & CORRUPT MEDIA in violation of the FCPA and the

Logan Act Stat. 613, 18 U.S.C. § 953 with China. Based on his previous contracts in

VALIDATION for MERCK , BAXTER, J&J etc. GMP training and the only 935

cases and 9 deaths in TAIWAN as of10FEB2021 , THAT THE TESTING

COMPONENTS MAY BE TAINTED and actually causing increase in COVID-19.

This is based on PREVIOUS actions by CHINA.

<ref>https://www.govinfo.gov/content/pkg/CHRG-11 0hhrg53 l 83/html/CHRG- l l 0hhrg53 l 83.htm </ref>

<ref> https://www.nytimes.com/2008/03/06/health/06heparin.html</ref>

<ref>https://www.latimes.com/archives/la-xpm-2008-mar-20-na-fda20-story.html</ref>

<ref>https://en.wikipedia .org/wiki/2007_pet_food_recalls </ref> . Based on these facts , the current


non-binding mandate from the Dr. Levine and others in other STATES may be trying

to increase the number of cases, to HARM the UNITED ST ATES based on bribes

and TREASON by mostly DemoNcrats and some Republicans posing as good people

who are RHINO's, when President Trump may have been the first DINO identified

since the MURDER of John Kennedy.

Every Public Health official that fails to recommend mass Pneumonia vaccinations

is complicit in the deaths in the United States. Although Thanksgiving was not a

religious holiday, many people say a prayer before the meal and therefore the


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restrictions on Thanksgiving is a VIOLATION of the EST ABLISMENT

CLAUSE, also since it tries to limit prayer services in PA. , INTERFERENCE IN

INTERSTATE COMMERCE, and the order also violates EQUAL

PROTECTION since commuters are exempt in Pennsylvania. Forced testing

without a court order violates the FIRST Amendment, just like you cannot be forced

to give a DNA sample. Mr. Cutler owns stock in Merck, which manufactures

PNEUMOVAX23 , and the actions of Dr. Levine have depressed the value of the

company, and should be prosecuted just like Martha Stewart was charged and put in

prison, but also pushing sales at AMAZON. On 17JUL2020 TOM WOLF issued a

DECREE that LEBANON COUNTY cannot get about 12.8 million directed to the

county via the CARES act and VIOLATED 18 U.S.C. § 653, misuse of federal

funds and Equal Treatment Under the law (Ammend 14), since LANCASTER

COUNTY did the exact same thing. <ref>

https:ijpittsburgh.cbslocal.com/2020/07/22/lebanon-county-sues-governor-tom-wolf/ </ref> On

or about 14AUG2020 Tom WOLF reversed himself but dictated that Lebanon

County MUST use 2.8 million of the CARES act funding for MASK

ADVERTISING in direct support of Joe Biden's campaign focus <ref>

https://papost.org/2020/08/14/reversing-course-wolf-releases-cares-act-funding-to-lebanon-

county/ </ref>, which is fi ve years since the USCA in Washington ruled Mr. Cutler

had the right to Defend the Establishment clause (case 14-5183) and 75 years since

VJ day of WWII. DR. FAUCCI, KRISTEN WELKER and Persons of the CDC


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have LIED about an Approved Vaccine to Stop COMPLICATIONS from the FLU

& COVID-19 <ref>https://www.futuremedicine.com/doi/l 0.22 l 7/fca-2020-0082</ref>. They are called

PNEUMOVAX23 and Prevnar13 which are the PRIME COMPLICATION TO

THE COVID-19 that result in DEATH from pneumococcal disease <ref>

https://www.diabetes.org/diabetes/med ication-management/fl u-and-pneumon ia-shots</ref>. KRIS TEN

WELKER'S HUSBAND IS A MARKETING EXECUTIVE FOR MERCK. On

22JUN2020 a PETITION FOR IMMEDIATE INJUNTION PENDING APPEAL

was finally put online in case 20-1449 even though it was actually filed on

20MAY2020 at 4:10 PM .. The case is called the UNITED STATES OF AMERICA

v. JOESEPH JOHNSON. The office of the president responded to this by

21MAY2020. The president gave a short NEWS CONFERENCE on 22MAY2020

demanding all places of worship be allowed to open. Employees of the federal

government and others have been involved in a criminal conspiracy to OBSTRUCT

JUSTICE and damage the United States. In case #20-5143 DC USCA Nancy Dunn

obstructed documents mailed and sent to <ref> prosefilings@cadc.uscourts.gov </ref>

Mr. Cutler had sent a 330 page document on 17JUL2020 but that document

vanished, just like the white bunny HARVEY, who is invisible in the picture ofMke

Pence with his bunny Marlon Bundo on 16NOV2020 on the front page of the

Philadelphia Inquirer. The USPS tacking number 9510 8141 4908 0199 0615 60 is

not reporting results. The lawyers in sending Mr. Cutler the letters by MAIL makes

them all a party to the CONSPIRACY to INTERFERE IN INTERSTATE


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COMMERCE. Mr. Cutler's brother FRED had recently got a job as an USHER

for the PHILADELPHIA PHILLES for the 2020 season, but because of the

CONSPIRACY to close the states there will be no live viewing of games this

season. Mr. Cutler's brother and approximately 69 MILLION other people

(approximate attendence of 2019 baseball season) have been denied the RIGHT of

PURSUIT OF HAPPINESS as is part of the DECLARATION OF

INDEPENDENCE. Thomas Wolf and Jim Kenney have allowed almost

unrestricted protest marches with POLICE escorts, but cancelled other parades and

events. Mr. Cutler had proposed an option to have games played in every city. As

stated by Judge James C. Dever III ruling 16MAY2020 there is NO PANDEMIC

EXZEMPTION IN THE CONSTITUTION. The news media in concert with

individuals in the DEMOCRATIC party have and some that pretend to be

REPUBLICANS have conspired to impact the UNITED STATES. Mr. Cutler filed a

complaint with the OIG of PBS/NPR on 10SEP2020 for 18 USC§ 653-MISUSE OF

FEDERAL FUNDS FOR NOT REPORTING THIS STORY OR CASE. THIS IS

A CRIMINAL MATTER. The NEWS MEDIA AND OAGs ARE AIDING

AND ABETTING in concealing the MURDER of a BLACK FEDERAL

EMPLOYEE just like Cecily Aguilar, 22 has been charged (and they are violating

18 U.S.C. § 3 Accessory after the Fact MURDER of Jonthan Luna). The Employee

is Jonathan Luna <ref> https://en.wikipedia .org/wiki/fonathan Luna </ref> and Beranton

Whisenant <ref> https://en.wikipedia.org/wiki/Bcranton Whisenant </ref> Justin Zemser and


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Sean Suitter. The recent murder of Roy Den Hollander in New York for challenging

the news media (case 1: 16-cv-06624) is just artother crime concealed from the

public.That case is included by reference and joined to this one. The crime-fraud

exception was first recognized in the United States over one hundred years ago, and

the policy behind it is well-defined. (The crime-fraud exception was first recognized

in the United States in Alexander v. U.S. , 201 U.S. 117, 121 (1906).) The legal

community does not deem discussions concerning future wrongdoings, such as

fraud, that occur during an attorney-client communication worthy of protection. Id.

at 562-63. While the practice of law encourages full and frank communications

between the attorney and client, only communications concerning past wrongdoings

are protected. Mr. Cutler had previously been elected to Public Office as the TAX

COLLECTOR of East Lampeter Township, Lancaster County Pennsylvania, based

on an Election in November 2013 . and took the Oath of OFFICE prior to his first

day on the job, on 06JAN2014. Mr. Cutler filed his first lawsuit on 31DEC2013

regrding violations of Religious Freedom as case number 1:13-cv-02066. He was

granted the right to challenge OBAMACARE in Appeal as case 14-5183 on

14AUG2015 for violations of the ESTABLSHMENT CLAUSE. Mr. Cutler was

removed from Office after 27 months based on PERJURED TETIMONY, and a

CONSPIRACY TO COMMIT MAIL FRAUD and BANK ROBBERY. In

Manhiem township Patricia Kabel (elected the same year as Mr. Cutler) was

harrased in a similar manner was equally harrased in court and the township spent


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about 160,000 of taxpayer money to make her leave office. <ref>

https://lancasteronline.com/news/local/cornrnonwealth-court-denies-rnanheirn-township-school-districts-appeal-in-


long-running-tax-collector-case/article 127508cc-c2e5-1 lea-864a-8b754638d23f.html </ref> Based on these


actions Mr. Cutler investigated the parrties involved and tried to have a FEDERAL

JURY TRIAL to clear his name. Since he found no law firm would represent him

based on contacts with the FBI or law enforcemnt. The lancaster county treasurer

was apponted to replace Mr. Cutler in the collection of taxes and never had a surety

bond until 18WL2018 <ref> https:ljlancasteronline.com/news/local/lancaster-countv-treasurer-without-

insurance-for-millions-in-tax-dollars/article ef5b90bc-89d5-1 le8-8ace-77712e721cba.html </ref> NO Prosection


of the treasurer was ever instituted, a clear violation of EQUAL TREATMENT

On 20MAY2020. Mr. Cutler won a motion for reconsideration in the court based

on EQUAL TREATMENT under the law in this court (case# 1: 17-cv-01740

06NOV2017), but the judge failed to award any compensation as requested and the

clerks removed one defendant from the case an tampered with the document.

Pennsylvania has previously had a number notorious crimes of public employees

<ref> https://en.wikipedia.org/wiki/Kids_for_cash_scanda l </ref> (including judges Mark Ciavarella &

Michael Conahan) convicted of federal crimes that resulted in convictions. Mr.

Cutler filed for an IMMEDIATE INJUNCTION PENDING APPEAL FOR

ALL juridictions of the United States, based on the ruling in case # 4:20-cv-00081

in the United States District Court for the Eastern Ditrict of North Carolina on

16MAY2020 by Judge James C. Dever III. Since Governor Roy Cooper has made



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public statements that he does not intend to appeal, this is settled law. Mr. Cutler

had filed a Petition to DENY the Motion For Summary WDGEMENT and to

consolidte related cases of religious discrimination by the government in case USCA

20-1805 on 14MAY2020 and the document and was not put online until

20MAY2020. The document filed by Brian L. Calistri on May 8, 2020 contains

some perjured statements and since it was sent by mail constitues Mail Fraud and

Perjury (18 USC§ 1001) and constitutes a CONSPIRACY to conceal the murder

of a Federal Employee found on 04DEC2003 (Jonathan Luna) , by persons in the

governments (both federal and state) and also the murder of five children on May

13, 1985 as a form of Eviction with the aid of persons in the FBI, by furnishing the

bombs. Mr. Cutler had stated that he believed that the MURDER of JONATHAN

LUNA was carried out by the KLU KLUX KLAN, and concealed with help of the

FBI. The judge dismissed the case even though 5 parties defaulted and were

properly served. Based on ECF #5 in case# 2: 17-cv-00984 by the late Thomas

O'Neill, Mr. Brian L.Calistri's motion failed to notify the parties that have

defaulted in this case and therefore should have been DENIED. Mr. Cutler had

made a complaint by mail to the DA office in Lancaster County, Pennsylvania and

York, County Pennsylvania. Mr. Cutler had also filed a motion to intervene on

22SEP2019 in the case of Tami Levin in federal court case 2: 19-cv-03149 (ECF 5)

which named DA Larry Krasner as a Defendant in the case. Mr. Cutler also filed a

response to the motion filed in oppoition on 25SEP2019. Even though the document


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filed on 25SEP2019 contained evidence of OBSTRUCTION OF JUSTICE and

VIOLATIONS of EQUAL PROTECTION, Judge Eduardo C. Robreno issued an

order on 09OCT2019 which not only denied Mr. Cutler' s right to intervene but also

violated the United States Constitution Ammend 1, by making a THREAT BY

MAIL if Mr. Cutler filed any additional motions in the case, limiting Mr. Cutler' s

right to PETITION THE GOVERNMENT FOR REDRESS OF

GRIEVIENCES. Tami Levin was replaced by Movita Johnson-Harrell who

pleaded guilty to the theft of approximtely half million dollars. Mr.Cutler had filed

objections to limit the power of the Tom Wolf to classify that religion as a NOT a

LIFE SUSTAINING activity in the Commonwealth of Pennsylvania. Mr. Cutler

filed his first lawsuit on 31DEC2013 regrding violations of Religious Freedom as

case number 1:13-cv-02066. He was granted the right to challenge OBAMACARE

in Appeal as case 14-5183 on 14AUG2015 for violations of the ESTABLSHMENT

CLAUSE. To this end Mr. Cutler filed documents in case 4:18-cv-00167-0 to

transfer it to Pennsylvania, but it was DENIED 21JAN2020. Mr. Cutler filed an

Appeal for the order on 04FEB2020 in the United States Court of Appeals Fifth

Circuit. When that was illegally ignored. Mr. Cutler filed documents in

Pennsylvania. Mr. Cuttler had requested that district court case number 4:20-cv-

0064 in the United States District Court for the Northern District of Mississippi

[TEMPLE BAPTIST CHURCH et al. v. CITY OF GREENVLLE et al.] , and

case number 1:20-cv-00323 in the United States District Court for the Western


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District of Michigan [KIMBERLEY BEEMER et al. v. GRETCHEN WHTMER

et al.] and case number 1:20-cv-01130 (Mr. Cutler had a typing error and

previously wrote 1:20-cv-01120) in the United States District Court for the District

of MARYLAND, BALTIMORE DIVISION [ANTIETAM BATTLEFIELD KOA

et al. v. LAWRENCE J. HOGAN et al.] are also cases that should be part of this

consolidation. All charges in each case should be included by reference for all civil

cases as if they are filed with this filing, for JUDICIAL EFFICIENCY. Judge

Catherine C. Blake ofMaryland had one of the documents returned, obstructed

justice, and violated 18 U.S.C. § 3 Accessory after the Fact MURDER of Jonthan

Luna, on 03JUN2020 (birthday of Jefferson Davis after it was stamped in on

01JUN2020) after the office of AG in Maryland had responded to Mr. Cutler. Mr.

Cutler has previously called Mr. Wolf a member of the KLU KLUX KLAN in

documents related to this case in federal court. <ref> https://forward.com/fast-

forward/444442/n j-man-accused-of-ordering-a ttacks-on-synagogues-released-from-ja iI/ </ref> Despite Mr.


Cutler filing a request with the state prior to the end of the WAIVER deadline that

ALL BUSINESSES in Pennsylvania be considered LIFE SUSTAINING, Mr.

Cutler has never heard back about his request until 12MAY2020. Mr. Wolf also

NOW has a NEW group to TRACK everyone in PENNSYLVANIA that has the

COVID-19 virus or other secrect police duties. Based on the case of the aids law

project tracking people that have one type of virus is unconstitutional, and exposing

their idenity is equally unconstitutional. The concept of EQUAL PROTECTION


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UNDER the LAW is a cornerstone of both the United States Constitution and the

Commonwealth of Pennsylvnia. Based on the story about Mike Du Toit of South

Africa <ref> https://www.dailvmail .eo.uk/news/article-2478889/White-supremacist-Mike-du-Toit-plotted-kill-

Nelson-Mandela- jailed.html </ref>   the BOEREMAG was just another name for KLU

KLUX KLAN. Also Tom Wolf made statements that said that people cannot be

evicted until July yet in there are 6 pges of Legal Notices in the Inquirer on

07MA Y2020 that use WRIT OF EXECUTION to sieze property. Recently in

New York white police officers were beating a BLACK MAN for failing to practice

social distncing (neither police officer was wearing a mask), and they should be

prosecuted for violating the same law that they were alledgely enforcing. It is

notable that Wikipedia has SCRUBBED Mike Du Toit from their records

(effectively trying to rewrite history). Taiwan is about 100 miles from CHINA, yet

has less than ten deaths and 500 confirmed cases. In the Appeals for the Fifth

Circuit the Order from the United States Northern District of Texas dated January

16, 2020 denying Plaintiffs MOTION FOR RECONSIDERATION OF MOTION

TO CHANGE VENUE FOR CASE 4:18-cv-00167-0 FROM STATE OF TEXAS

TO PENNSYLVANIA AND COMBINE CASE WITH 5: l 9-cv-00834 , and the

motion denying Plaintiffs motion of December 30, 2019. The current order from

that court is in error since the USCA order of December 18, 2019, remanded the

case back to District Court and for further disposition and was unopposed and is still

unopposed. Mr. Cutler had previously filed a document by MAIL on March 1, 2019


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but it was illegally discarded. He then filed on 07MAR2019 in person (Document

00514863727) , and it was put online March 7, 2019. The office of the clerk

decided it would be ignored. Mr. Cutler filed a NOTICE OF APPEAL on

27JAN2020, (Document 00515289904 International Holocaust Remembrance Day),

and it was only put online when Mr. Cutler informed the Deputy Clerk Mary

Francis Yeager that she was violating Mr. Cutler's civil rights. It was put online

January 29, 2020. A violation of EQUAL PROTECTION by employee of the

federal government, which treated the two documents differently and potentially hid

the document from the review of the judges considering an ENBANC review. Mr.

Cutler subsequently filed a PETITION FOR ENBANC HEARING AND TO

TRANSFER RESIDUAL CASE TO PENNSYLVANIA AND COMBINE WITH

CASE 5:19-cv-00834, this document was put online as document number

00515298284 on 04FEB2020, the same date it was filed in court. In the case both

Deputy Clerk Mary Francis Yeager and Deputy Clerk Roeshawn Johnson

denied the petition. This violated the United States Constitution Ammend 1 and 5.

It also also violates Mr. Cutler's rights under the Sixth Amendment of the

Constitution. Mr. Cutler then on 04MAR2020 filed a 380 page document in this

case (2: l 9-cr-00367). Within 24 hours of the filing Mr. Cutler got a threat by phone

from an unidentified individual about the filing. On 06MAR2020 Mr. Cutler filed a

nine page correction to the document previously filed. When the document was

downloaded from the federal pacer system it was devoid of any markings. On


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12MAR2020 Mr. Cutler filed a MOTION TO VACATE ORDER DENYING

ORDER OF RECONSIDERATION - ON 04MAR2020 FOR IMPROPER

SERVICE - BRADY VIOLATION AND COMBINE WITH CASE NUMBER

2:20-cv-00735 (GRANT v. PHILADELPHIA) AND 4:18-cv-00167-0 FROM THE

NORTHERN DISTRICT OF TEXAS AND DEFAULT JUDGEMENT. At that

time Mr. Cutler used the terminal in the Federal Courthouse to view some dockets.

In case 2: 19-cr-00367 Mr. Cutler noticed the copy of the document (ECF 99) NOW

was properly marked. Based on this Mr. Cutler printed a second copy of the

document. Based on Elouise Pepion Corbel et al. v. Gale v. Norton, et al. (03-5262,

03-5314). Mr. Cutler requested the district court cases be consolidated in

Pennsylvania and deliberations allowed on an expedited basis since they both

involve related issues and the Supreme Court previously has indicated they will not

consider the case this term, even though oral arguments were already made. This

court had allowed the House of Representatives to be an Intervenor. The petitioner,

Jeffrey Cutler, acting pro se, respectfully previously identified that the speaker of the

house of representaives, in her official capacity, as the speaker of the House of

Representatives (and former resident of Baltimore, Maryland).

This is the same city that Johnathan Luna on 03DEC2003 (a black federal

employee) left his office at approximately 11 PM and was found dead the next

morning (04DEC2003)in Lancaster County, Pennsylvania with 36 stab wounds,

neck back and genitals, but the cause of death was drowning as per the Medical


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Examiners. The FBI tried to force two Medical Examiners to say the MURDER

was a Suicide. Sean Suiter a Baltimore Police officer died from a MURDER that

was later classified a suicide during a special arrest, 1 day before he was to testify.

Other individuals have died unexpectedly, possibly of murder including Beran ton

Whisenant Jr. (also a federal prosecuter), and Kobe Bryant. Mr. Cutler' s cousin

Robert Needle, (who died unexpectenly in May 2017) may have previously contacted

Mr. Beranton Whisenant, who died on or about 25MAY2017. The medical records

of Jonathan Luna have finally resurfaced and are currently trying to be

sealed/hidden by the current DA in Lancaster County. Mr. Cutler had stated in

public documents that he believes Mr. Luna was murdered by the KLU KLUX

KLAN. Mr. Cutler also now believes that THOMAS C. WALES was also

MURDERED by the KLU KLUX KLAN 11OCT2001.<ref>
https://www.fox43.com/ article /news/ionathan-luna-murder-mystery-2003/ 521-2229b272-9355-43a8-8 l 63-
506440862577 </ref><ref>

https://lancasteronline.com/news/local/lnp-county-clash-over-newly-discovered-records-in-ionathan-
luna/article 01ba656a-483b-1 l ea-86ed-43533b224839 .html </ref><ref>

https://lancasteronline.com/news/local/lancaster-county-iudqe-qives-prosecutor-days-to-say-why-
ionathan/article 66aa5a86-49ec-11 ea-8d57-37ffal b9ed27.html </ref><ref>

https://www.wqal.com/article/newly-discovered-documents-are-related-to-investiqation-into-death-of-
federal-prosecutor-ionathan-luna/307837 45 </ref><ref>

https://www.pennlive.com/news/2020/02/re-discovery-of-records-on-mysterious-death-of-federal-prosecutor-
prompts-fiqht-between-da-news-media.html </ref><ref>


https: //www.youtube.com / watch?v=cLAldUHDw j8 </ref> <ref>
https://www.nbcnews.com/news/us-news/disqraced-baltimore-police-officer-says-detective-who-was-killed-
testifying-n844831

</ref> <ref> https://www.cnn.com/20 18/08/29 /us/baltimore-police-detective-sean-suiter-
suicide/index.html </ref>



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Nancy Pelosi made a false statement in court via her lawyer (Mr Donald B. Verilli

Jr.) stated "[N]o one would be hurt and the greater justice would be attained" and

violated (18 USC § 1001 ) on 03JAN2019 on page 24 of the filing that was made in

case 4:18-cv-00167-0, a significant federal crime. It is interesting that the law firm of

DLA Piper (Kamala Harris' husband works for this firm and was part of the case

against Mr. Cutler and also filed a motion on this same date against him because he

dared to continue to challenge the ACA. During a speech at the National

Association of Counties' annual Legislative Conference on 9 March 2010, in

Washington D.C. <ref> https://www.youtube.com/watch?v=QV7dDSqbaQO </ref>

she stated "We have to pass the bill to find out what is in it" . The petitioner "found

out what was in it" and filed a Prose lawsuit 31DEC2013 in Wasington, DC case

1: 13-cv-2066. He also via lawyers hired had previously filed a Writ of Certiorari

for the Supreme Court of the United States (15-632) and inserted that same writ in

United States Court of Appeals case 17-2709, page 314A, via district court case

number 2:17-cv-00984 page 10. Since the individual mandate of the Affordable

Care Act is now null and void based on the rulling of the USCA and the other

provisons of the bill should also be eliminated to preserve the constitution. Mr.

Cutler paid the docketing fee for the appeal in case 14-1449 to preserve the right of

appeal of Mr. Johnson. His lawyer previously made a false statement to the court

in his request to withdraw, based on the documents filed by Mr. Johnson (ECF



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100-103) a significant crime (18 USC § 1001). The current orders of Tom Wolf in

Pennsylvania violate GMP procedures and allows the commonwealth to track

every individual on the Pennsylvania Turnpike. (See history of IBP recalls of beef

procedures that using a delivery ADDS RISK TO EXPOSING EVERYONE.) Mr.

Cutler had worked for multiple pharmaceutical and food compnaies including,

HEINZ, CAMPBELLS, MERCK, GSK, BAXTER and others. Mr. Cutler was

previously in charge of coordinating the Y2K and putting together the contingency

plan for MERCK Inc., West Point site. It is Mr. Cutler's beliefCOVID-19 is

actually an excuse for MASS GENOCIDE against individuals that are deemed

undesirable including Jewish and black Individuals and to discontinue pensions via

MURDER (see <ref> https://en.wikipedia.orq/wiki/Joyce Gilchrist </ref>. It is very easy to

Bribe, coerce or pay individuals to bear false witness against another individual and

violate THALL SHALL NOT BEAR FALSE WITNESS and 18 USC § 1001. The

orders Thomas Wolf and other leaders have issued effectively allows the

governments in the United States to discontinue religion in and in the State

of Pennsylvania, by a member of the KLU KLUX KLAN or related organization.

Other members of the KLU KLUX KLAN in the United States and the World, are

all organized to take on the HOAX. This was previously called Agenda 21. As of

16MAR2020 Canada was still allowing flights from CHINA and those persons

could be carrying hazardous bio material simply enter the United States from

Canada. When Mr. Cutler was working for Merck as a contractor some individuals


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were caught stealing trade secrects by security at the West Point site. It has

been known China has been effectively using live people for transplants for years.

Mr. Ellyahoo has stated the word in HUNGARY for SIN is pronounced VIRUS.

The closing of all CASINOS in the STATE is to get 100% of all gambling

revenue, to have a total monopoly on all sources of payment organized for a

complete Klu Klux Klan takeover. Jeffrey Smiles has told Jeffrey Cutler that the

Allentown Federal Courthouse contains NAZI insigna in the tile work in the building

(pending supreme court case# 19-8538 ), and there is a seven acre compound in

Southern Lancaster county that is owned by the Klu Klux Klan. Mr. Smiles has

corrected Mr. Cutler's statement that the insigna is actually in the Post Office tile

across from the courthouse. This all may have a connection of Joe Biden to China and

the transfer of technology to them that has violated the world's civil rights, except

Taiwan with less than 10 deaths as of today. Joe Biden an Bill Cosby are named in

the same federal lawsuit supposedly about stolen art (USCA 17-1770). Also Based

on case # 19-cv-2407 in the Southern District of California, by Cyrus A. Parsa which

should be included by reference these claims are true and correct and the book

Bloody Harvest <ref> https://www.bookdepository.com/Bloody-Harvest-David-Matas/9780980887976
</ref>

Based on Mr. Cutler' s experience, Engineering Experience, and the case of Joyce

Gilchrist <ref> https://en.wikipedia.orq/wiki/Joyce Gilchrist </ref> persons in Federal

government may have violated the Logan Act Stat. 613 , 18 U.S.C. § 953 with


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China. Since Mr. Wolfs order is illegal, all the Insurance companies have

conspired to not pay BUSINESS INTERUPTION CLAIMS based on the order of

Tom Wolf, just like 2 different insurance companies failed to compensate Mr.

Cutler for his loss (Erie and State Farm Insurance) and conspired to Commit Mail

Fraud even though Josh Shapiro was served as part of the lawsuit naming the PA

insurance department. Mr. Wolfs order also violates the Federal Voting law Voting

Rights Act of 1965, which prohibits any jurisdiction from implementing a "voting

qualification or prerequisite to voting, or standard, practice, or procedure ... in a

manner which results in a denial or abridgement of the right ... to vote on account

of race," color, or language minority status. Based on the recent unsealed pleadings

of Judge Domenick Demuro (press release 20-4 72) , voter fraud has been in

Pennslvania a long time. The use of ABSENTEE ballots that are collected by

individuals denies the minor protection of MAIL FRAUD, usually asociated with

this type of voting. Mr. Cutler has attached a handicap placard Pl5703J renewal that

also may be voter fraud in Philadelphia and Mail Fraud. Since that person never

lived at that adress. Mr. Cutler had formally notified the court of voter fraud in

Pennsylvania as of 13DEC2016 in case # 2: 16-cv-06287. The DOJ announced the

guilty plea of a judge of elections in Philadelphia 21 MAY2020, the day after Mr

Cutler filed an Injunction Pending Appeal in case 20-1449, that prohibits ANY

JURISDICTION in the UNITED STATES from specifyin HOW TO PRAY. Mr.



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Cutler also notifies this court that the failure of the Dams in the state of

Michigan may be the result of a deliberate act to prevent and obscure the lawsuit of

governor Gretchen Witmer's unlawful act from being persued in federal court case

1:20-cv-00323. DR. FAUCCI, KRISTEN WELKER and Persons of the CDC have

LIED about an Approved Vaccine to Stop COMPLICATIONS from the FLU &

COVID-19 <ref>https://www.futuremedicine.com/doi/10.2217/fca-2020-0082</ref>. They are called

PNEUMOVAX23 and Prevnar13 which are the PRIME COMPLICATION TO THE

COVID-19 that result in DEATH from pneumococcal disease <ref>

https://www .diabetes.org/diabetes/medication-management/flu-and-pneumonia-shots </ref>. KRIS TEN

WELKER'S HUSBAND IS A MARKETING EXECUTIVE FOR MERCK. Based

on Tigers in the Bronx zoo and Goririllas in San Diego zoo being diagnosed with

COVID-19, as well as one million mink in the Netherlands there is ZERO

evidence that the tigers, Goririllas ever failed to practice social distancing, because

the person would be called LUNCH. HIV has NO VACCINE. This

INV ALIDA TES ALL THE MODELS being used to justify the restrictions. Mr.

Cutler based on standard engineering concepts the death of Philadelphi Police

Lieutenant James Walker, Seth Rich, Bre Payton, Edgar Rosenberg, Loma Breen,

Ellen Greenberg, and others may be MURDERS of the KLU KLUX KLAN, and 1-

2% of all law enforcement in the United States may be members or share their views.

Also some elected Officials and persons in the military all branches. An 8 year old

was raped in Bryant elementary school and his parents were denied the ability to sue


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because they waited six months. Based on this the charges against William Henry

Cosby should be vacated. George Soros and other persons similarly situated may be

trying to destroy the United States economy and the Dollar by bad sharing of

information, just like on 25MA Y 1979 American Airlines Flight 191 DC-10,

crashed based on not sharing data. Mr. Cutler was trying to fly to Philadelphia that

day from Chicago. My friend Daria from Russia, stated that collapse of the dollar

was a stated goal of persons. Even in case, 1:20-cv-0 1130 that the document legally

filed is RETURNED for failing to file a motion to intervene PRIOR to filing the

actual document, violating equal protection under the law and the United States

Constitution Ammend 5 and Ammend 1 by denying the ability for redress of

grievances. Also based on conflicting death reports, declaring a MURDER a

SUICIDE is one way to conceal MURDERS by POLICE or ELECETED officials

with the aid of News Outlets. Previous corruption in the United States based out of

Illinois called project GREYLORD was a 3.5 year activity. Mr. Cutler lived in

Illinois during some of this time frame and the joke voting saying was VOTE

EARLY AND OFTEN and JUST BECAUSE YOU ARE DEAD IS NO REASON

NOT TO VOTE <ref> https://en.wikipedia.org/wiki/Operation Greylord </ref>

<ref> https://www.cbicagotribune.com/ nation-world/chi -chicagodays-greylord-story-story.htm l </ref> <ref>
https://www.latimes.com/archives/la-xpm- l 987- l 2- l 0-mn-28034-story.html </ref> <ref>
https :// fbi studies. com/ wp-conten t/uploads/20 I 7/04/FB I-Grapevine-Operation-Grey lord-Hake. pd r </ref>


It was RECENTLY announced that Rabbi Yisroel Goldstein was charged,




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SENTENCED , while the individual that MORDRED Lori Gilbert-Kaye is still

awaiting trial (John Timothy Earnest) and Jeffrey Lyons is out on bail awaiting to

start his SENTENCE for a 55 MILLION DOLLR FRAUD <ref>
https://www.nbcsandiego.com/news/local/rabbi-shot-in-powa y-synanogue-a ttack-pleads-guilty-
to-tax-fraud-docs/2365089 / </ref> <ref>
https://en.wikipedia.org/ wiki / Poway synagogue shooting </ref>


CHINA BREAKING THE AGREEMENT WITH HONG KONG IN 23 YEARS

MEANS THEY WILL BREAK ANY AGREEMENT INCLUDING THE USE OF

BIO-WARF ARE. The attacks on the USS McCain, Fitzgerald, Bonhomme

Richard and effects in TAIWAN are evidence of cooridinated attacks on the

United States which are being hidden from the general population like the civil

case against Nancy Pelosi. China has been bribing CIA employees and others for

years. There is no reason what Joe Biden did should be ignored. <ref>
https ://theh iII.com/pol icy/na tiona 1-securi ty/5 123 85- former-cia-officer-charged-wi th-sel Iing-us-secrets-to-ch ina


</ref> <ref> https://www.bbc.com / news/world-us-canada-48319058 </ref>

<ref> https://www.bbc.com/news/world-us-canada-50520636 </ref> <ref>

https://www.nytimes.com/2019 /09 /24/us/china-intelliqence-sentence.html </ref>


The Story <ref> https://www.mercurynews.com / 2017 /06/1 4/iames-hodg kinson-shooting-
facebook-republicans / </ref>

James Hodgkinson may have had KKK support, because he was using SKS rifle

with FIXED 10 ROUND MAGAZINE and FBI COVERED FOR OTHER

SHOOTERS BEHIND HIM!!! The rifle James Hodgkinson was using required

loading with STRIPPER CLIPS!! It uses the SAME 7.62 round as the AK-47

VARIANT. HE fired 200 rounds in 2 minutes while WALKING AND


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SHOOTING and it was COVERED UP!! NBC BROADCAST ON THE

BOTTOM SCROOL CAPTION AT THE TIME and stated by Senator RAND

PAUL!!! The NEWS MEDIA IS AIDING AND ABETTING in concealing the

MURDER of a BLACK FEDERAL EMPLOYEE just like Cecily Aguilar, 22 has

been charged. The Employee is Jonathan Luna <ref>

https://en.wikipedia .orq/wiki/Jonathan Luna </ref> and Beranton Whisenant <ref>


https://en.wikipedia.org/wiki/Beranton Whisenant </ref>, Sean Suiter from the BPD .


<ref> https://blackthen .com/black-mysteries-unsolved-death-jonathan-luna/ <ref>

For Years there has appers to have been a KLU KLUX KLAN serial rapist in

East Lampeter Township, Pennsylvania. This included Lisa Michelle Lambert and

possibly currently Linda Stoltzfoos and previous possible MURDER of JERRY

MURPHY ofWI105 and covered up by the MEDICAL EXAMINER <ref>
https://lancasteronline.com/news/local/da -maintains-autopsy-in-luna-murder-mystery-should-
remain-sealed/article ca83b358-c6de-11 ea-a3eb-67597e2be2cf.html


</ref> <ref> https://redistrictinq.lls.edu/files/PA%20corman%2020180724%20brief .pdf </ref>
East

Lampeter previous LAWSUITS, theft of PROPERTY <ref>

https://law .justia.com/ cases/federal/ district-courts/FSupp2/ 17 /39 4/248868 1/ </ref> $ 540,000
theft

of LIFE savings and sent to PRISON 2008 case Levi Lapp Stoltfoos (MAYBE

RELIGIOUS FREEDOM) <ref> https: //dockets.justia.com/docket/circuit-courts/ca3/17-
1772


</ref> On 18SEP2020 Justice Ruth Bader Ginsburg died on Rosh Hashanah, the



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Jewish New Year. Also on September 18, 2020 at 2:48 pm Jeffrey Cutler filed a 324

page MOTION TO RECONSIDER MOTION TO INTERVENE AND COMBINE

CASES FOR JUDICIAL EFFICIENCY AND OBSTRUCTION OF JUSTICE AND

CONSPIRACY TO COMMIT MAIL FRAUD AND OTHER CRIMES AND

SUMMARY JUDGEMENT in case #1:20-cr-00165, United States v. Kevin

Clinesmith in Washington DC. The previous document was destroyed by the clerk or

Judge in the case. Watch https://www.youtube.com/watch?v=mgCle8F_zUk for more

information and read comments sorted newest first. Also see <ref>

https://www.americanfreedomlawcenter.org/case/jeffrey-cutler-v-u-s-dept-of-health-

human-services/ </ref> and <ref> https://www.brennancenter.org/legal-work/corman-v-torres


</ref><ref> https://redistricting.lls.edu/files/PA%20corman%2020180724%20brief.pdf </ref><ref>

https://www.pacermonitor.com/public/case/27231978/CUTLER v PELOSI et al </ref> As an Official


Whistle Blower in the Commonwealth of Pennsylvania, Jeffrey Cutler declares the

actions Mr. Krasner, the Mayor of Philadelphia, and the Governor were a concerted

effort to legally Murder Jews and Blacks. Mr. Cutler ran for governor as a Pro Se

candidate against Thomas Wolf and had an advertisement in the METRO paper on

24OCT2018 page 15 :titled "SAVE BILL COSBY". The government cannot tell you

how to PRAY enforced by RELIGIOUS POLICE!!! The DEMONCRATS are using

FEAR and JUNK science to try and bring back CONCENTRATION CAMPS just

like EXECUTIVE ORDER 9066 by FDR. The ORDER was never declared

UNCONSTITUTIONAL, just SUSPENDED, revoked by Ford when he was



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president. On 04SEP2020 at 10:14 PM a [[FEC]] <ref>

https://en.wikipedia.orq/wiki/Federal Election Commission#First Amendment issues </ref>
complaint

was filed against [[Youtube]] for illegal edits of comments as an "IN KIND"

contribution to [[Joe Biden]] , [[Nancy Pelosi]], and MISUSE OF FEDERAL FUNDS

(18 U.S.C. § 653) involving [[NPR]] and [[PBS]] networks and also AIDING AND

ABETTING in concealing the MURDER of [[Jonathan Luna]] <ref>

https://en.wikipedia.orq/wiki/Jonathan Luna </ref> and [[Beranton Whisenant]] <ref>


https://en.wikipedia.orq/wiki/Beranton Whisenant </ref>. This is documented in federal
court

case 5:19-cv-00834 filed 26FEB2019 in [[Philadelphia]] against [[Nancy Pelosi]]

called (CUTLER v. PELOSI, et al.) and later against [[Kevin Clinesmith]]. On

20MAY2020 at 4: 10 PM Jeffrey Cutler filed an INJUNCTION PENDING appeal in

USCA case 20-1449 to REQUIRE EVERY JURISDICTION in the UNITED

STATES unrestricted PRAYER! On 12JAN2021 Jeffrey Cutler filed a MAIL

FRAUD complaint against AMAZON and Jeffrey Bezos and on 11JAN2021 filed a

MAIL FRAUD complaint against TWITTER and Jack Dorsey. The MAIL FRAUD

complaints are based on being an INVESTOR in both companies and the ANNUAL

REPORTS OF BOTH COMPANIES that are MAILED to Mr. Cutler and other

investors and statements in those reports.

On 11JAN2021 Jeffrey Cutler FILED A MAIL FRAUD COMPLAINT AGAINST

TWITTER for statements in their ANNUAL REPORT that is MAILED. TWITTER


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CLAIMS THAT THEY DO GOOD AND DECIDED THAT DONALD TRUMP'S

ACCOUNT IS BANNED FOR LIFE EVEN THOUGH THERE IS TIME

ST AMPED PROOF OF ELECTORAL FRAUD IN PENNSYLVANIA,

ORIGINALLY FILED IN FEDERAL COURT 20OCT2020 PAGE 169 OF CASE

20-2936 PAGE 9 OF THE LINK.BELOW !! <ref>
https://www.co urtl istener.com/recap/gov. uscourts. pamd . 127057/gov.uscourts.pamd. 127057. 18 1.0.pd f   </ref>

THE DROP BOXES IN PENNSYLVANIA FAILED TO HAVE HARD COPY

RECEIPT AVAILABLE DESPITE ORDER FROM TORRES ON 12APR2018 TO

THE CONTRARY. It is almost comical that AMAZON helped RIG VOTING with

expanded MAIL IN BALLOTS, in the election, AMAZON is REQUESTING IN

PERSON voting in a UNION selection vote in COURT DOCUMENTS. ASHLI

BABBITT WAS ACTING AS A CITIZEN JOURNALIST AND SHE HEARD

THE CONSPIRACY WITH KKK/ANTIF A around her with the POLICE, and

THAT IS WHY SHE WAS MURDERED!! EVEN IN CHINA THEY

JUST PUT CITIZEN JOURNALISTS IN PRISON, NOT MURDER THEM, PER

STORY PAGE A3 PHILADELPHIA INQUIRER 29DEC2020 BY LILY KUO.

PER USCA CASE 17-1770 JOE BIDEN WAS PART OF A GROUP HELPING TO

SMUGGLE STOLEN NAZI ART INTO THE UNITED STATES AND BILL

COSBY FOUND OUT. AMAZON FOUNDER JEFFREY BEZOS ENDED

PARLER and WILLFULLY DESTROYED PARLER AND THEIR LAWSUIT

2:21-cv-00031 in the Western District ofWashington should be fully compensated.


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Nancy Pelosi led a vote to IMPEACH DONALD J. TRUMP a second time on

13JAN2021 allowing for no FACTS or EVIDENCE to be provided, and she

conspired with others to insite violence on multple occaisions. Mr. Cutler filed

a 231 page document that is time stamped 2021 JAN 13 P 4: 10 in case 20-1422 (the

first 69 pages are attached in the addendum) in the USCA third circuit in

Philadelphia and on page 62 of that document is a letter

from Nancy Pelosi to Ted Wheeler (the mayor of Portland, Oregon) conspiring

to INSITE VIOLENCE AND BLAME TRUMP, with the aid of the media to aid

China engage in biological war fare against the world and weaken the United States.

Despite the RUSH to IMPEACH TRUMP A SECOND TIME , THE ARTICLES

ofIMPEACMENT have been sent to the SENATE as of this date. Chuck

Schummer had said on the floor of the Senate it was really for inciting an

ERECTION. Based on the email with an attachment of a letter from Nancy Pelosi

on 10JAN2021 at 5:33 PM, Jeffrey Cutler got an email with a letter to Portland

Mayor by Nancy Pelosi to Ted Wheeler dated August 27, 2020. Jeffrey Cutler

filed it on page 62 of the document he filed in USCA case 20-1422 on 13JAN2021

AT 4: 10 PM and it also VANISHED, copies were sent to over 200 news outlets. The

Police have also tried to intimidate Mr. Cutler by trying to pick him up for traffic

violations all based on the fruit of the poisonus tree. This case should be moved to

FEDERAL COURT and Combined with this case for Judicial Efficiency. Persons



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from stores such as Wegmans, the police in Marple Townsip, and [[FBI]] in

Newtown Square, PA may all be acting in a CONSPIRACY to track Mr. Cutler and

incarcerate him for identifying the previous conspiracy to hide the MURDER of

Jonathan Luna 04DEC1993 and TRY TO TERMINATE THE LIFE OF MR.

CUTLER WITH TRAFFIC CITATION C6598201-1. Vehicle registration was

reported as postponed.

<ref> https://www.pennlive.com/news/2020/05/penndot-extends-deadlines-for-
vehicle-registrations-inspections.html </ref>

and vehicle renewal registration was NOT received by mail. Since this case is proof

the BIG LIE is the TRUTH Mr. Cutler also requests that case 1:21-cv-00213 and

1:21-cv-0040 from the District of Columbia be combined with this case.

Thus Pursuant to Title 18, United States, Code § 4, Plaintiff, Mr. Jeffrey

Cutler, formally notifies the court of ongoing criminal acts and conspiracy

involved with this civil rights action and requests the court to notify the DOJ

Office immediately, and any other criminal justice authorities the court deems

necessary, to effect and insure the prompt investigation and prosecution of crimes

involved with this case which includes mail Fraud (18 U.S. Code§ 1341), the

murder of a federal employee (18 U.S. Code§ 1114), seditious conspiracy

(18 U.S. Code§ 2184), activiies affecting the armed forces (18 U.S . Code§

2187), Obstruction of Justice, Bank Ruptcy Fraud in case number 19-11466

Philadelphia Accademic Health System and Title 18, Section 871. The



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civil rights action is case # 5:19-cv-00834, case # 1:20-cv-01130 District Court

Maryland, and 1:17-cv-05228 in the Eastern District ofNew York (The State ofNew

York. et al. v. DONALD J. TRUMP, et al.). The courts have affirmed, it must

"afford a liberal reading to a complaint filed by a pro se plaintiff," particularly

when the plaintiff has no formal legal training or education. Klayman v.

Zuckerberg, 753 F.3d 1354, 1357 (D.C.Cir. 2014); see also Erickson v. Pardus,

551 U.S. 89, 94 (2007) ("A document filed pro se is to be liberally construed, and a

pro se complaint, however inartfully pleaded, must be held to less stringent

standards than formal pleadings drafted by lawyers.") (internal quotations and

citations omitted). The current election for president may be just like 2 Star Trek

Episodes combined. <ref> https://cn.wikipedia.org/wiki/Bread and Circuses (Star Trek: The Origina l Series)

</ref> and <ref> https://en.wikipedia.orq/wiki/What Are Little Girls Made Of%3F </ref> and like

the movie <ref> https://en.wikipedia.orq/wiki/Moon over Parador </ref> or the original

unpublished short story entitled "Caviar for His Excellency" by Charles G. Booth

there may be an actor portraying Joe Biden right now. As per Bell Atlantic Corp. v.

Twombly, 550 U.S. 544, 589 (2007) the court must accept the foregoing information

as true.

WHEREFORE, for all the foregoing reasons, petitioner respectfully requests

the Petion For INJUNCTIVE RELIEF be granted as well as Summary Judgement

and all votes via DROP BOXES BE STRICKEN in Pennsylvania and the count be

recalculated, and based on Marks v. Stinson Donald J. Trump be declared the winner



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<ref> https://www.leagle.com/decision/ 199489219Gd8731759 </ref> of the Presidential vote in

Pennslvania, and by reference North Carolina, Wisconsin, Nevada and Arizona.

Mr. Cutler has never met Donald J. Trump, and was not paid or compensated in any

way for this action. Mr. Cutler did give Mike Pemce a TSHIRT prior to him getting

elected Vice President at the hotel previously known as the Host Farm, but has since

been renamed. Mr. Cutler gave a similar TSHIRT to both Senators from Pennsylvania

Judge Stickman wrote in the case "but even in an emergency, the authority

of government is not unfettered" in the case of County of Butler v Wolf. This court

should also declare the entire Affordable Care Act (Obamacare) law and the

executive order signed in 1942 as Executive Order 9066 by FDR

UNCONSTITUTIONAL, during an_immediate ENBANC review of this case when

combined with the writ from case 15-632, and the writ filed by the WHITE HOUSE

as 19-840, 19-1019 also have the government CANNOT SPECIFY HOW TO

PRAY enforced by Religious POLICE, either LOCAL, STATE, or FEDERAL.

The MURDER of a BLACK _man and 15 year old boy should NOT be Considered

MOOT as per order from the Judge ECF 203 and the clerk. This USCA case

number 1:17-cv-05228, 20-3371 , 20-1805, 20-1449, 20-1422, 19-1622, 18-3693,

case number 20-5143 in the USCA DC CIRCUIT SHOULD, 2:21-cv-00031

Northern District of Washington, plus this case 21-4001 ALL BE

COMBINED FOR JUDICIAL EFFICIENCY and "GOOD TROUBLE" as per John

Lewis and stop 5171 years of persecution of Jewish Individuals. Not GETTING


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EXPOSED IN A LIE IS NOT THE SAME AS TELLING THE TRUTH!!!

ASHLI BABBITT WAS THE START OF KRISTALNAHT UNITED STATES

<ref> https://en. wikipedia.org/wiki/Night_of_the_Long_Knives </ref>"

YOU CAN DESTROY THE EVIDENCE, BUT YOU CANNOT DESTROY THE

TRUTH. At least Four different federal courts have conspired to deny Mr. Cutler the

right to Petition the government for redress of grievances as part of the FIRST

AMENDMENT, in conjunction with the media, elected and non-elected officials

Based on payments inside and outside the United States. IMPEACHING ANYONE

should demand the FULL ATTENTION OF THE COURTS AND THE

CONSTITUTION, and there should be NO SHORTCUTS ALLOWED, if the

chief judge of the Supreme Court or a Judge of the Supreme court does not preside

in his place then the entire activity is fraud on the court. Just because the Biden

Election has not been exposed as a LIE, IT IS NOT THE SAME AS TELLING

THE TRUTH (Para Phrase from 3 Days of the Condor). YOU CAN DESTROY

THE EVIDENCE, BUT YOU CANNOT DESTROY THE TRUTH.!




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Respectfully submitted,


DATE:_ ~l2=F=EB~2=02=1~ - - -            /s/ Jeffre y Cutler

                                              Jeffrey Cutler, prose
                                              215-872-5715 (phone)
                                              eltaxcollector@qmail .com
                                              P.O. Box 2806
                                              York, PA 17405

                          CERTIFICATE OF SERVICE

                                I hereby certify that on FEBRUARY 12, 2021 , I
                                filed the foregoing with the Clerk of the Court for
                                the United States District Court for the Eastern
                                District of Missouri via United States Mail or in
                                person. Participants in the case who are registered
                                CM/ECF users will be served by the appellate
                                CM/ECF system. I further certify that all of the
                                other participants or their lawyers in this case are
                                registered CM/ECF users except as follows and they
                                are served by mail or email .

                                  Embassy of the People's Republic of China
                                  in the United States of Americ.a
                                  3505 International Place, N.W.
                                  Washington, D.C. 2ooo8 U.SA
                                  Tel: + 1-202-495-2266
                                  Fax: +1-202-495-2138
                                  E-mail: chinaembpress_us@mfa.gov.cn


                                 An1b assador Cui Tiankai



                                     Isl Jeffrey Cutler
                                Jeffrey Cutler




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